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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
   John B. Quinn (Bar No. 90378)
 2 johnquinn@quinnemanuel.com
   William C. Price (Bar No. 108542)
 3 williamprice@quinnemanuel.com
   Michael T. Zeller (Bar No. 196417)
 4 michaelzeller@quinnemanuel.com
   865 S. Figueroa St., 10th Floor
 5 Los Angeles, California 90017
   Telephone: (213) 443-3000
 6 Facsimile: (213) 443-3100

 7 Kathleen M. Sullivan (Bar No. 242261)
   kathleensullivan@quinnemanuel.com
 8 Kevin P.B. Johnson (Bar No. 177129)
   kevinjohnson@quinnemanuel.com
 9 Victoria F. Maroulis (Bar No. 202603)
   victoriamaroulis@quinnemanuel.com
10 555 Twin Dolphin Drive, 5th Floor
   Redwood Shores, California 94065-2139
11 Telephone: (650) 801-5000
   Facsimile: (650) 801-5100
12

13 Attorneys for Samsung Electronics Co., Ltd.,
   Samsung Electronics America, Inc., and Samsung
14 Telecommunications America, LLC

15                              UNITED STATES DISTRICT COURT

16                           NORTHERN DISTRICT OF CALIFORNIA

17                                      SAN JOSE DIVISION

18 APPLE INC., a California corporation,            CASE NO. 11-cv-01846-LHK
19                                                  SAMSUNG’S NOTICE OF MOTION AND
                Plaintiff,
20                                                  MOTION FOR JUDGMENT AS A
           vs.                                      MATTER OF LAW, NEW TRIAL,
21 SAMSUNG ELECTRONICS CO., LTD., a                 AND/OR REMITTITUR PURSUANT TO
                                                    FEDERAL RULES OF CIVIL
22 Korean business entity; SAMSUNG
   ELECTRONICS AMERICA, INC., a New                 PROCEDURE 50 AND 59
   York corporation; SAMSUNG                        Date:    July 26, 2018
23 TELECOMMUNICATIONS
                                                    Time:    1:30 p.m.
24 AMERICA,    LLC, a Delaware limited liability
   company,                                         Place:   Courtroom 8, 4th Floor
                                                    Judge:   Hon. Lucy H. Koh
25                Defendants.
26
27

28

                                              -1-                Case No. 11-cv-01846-LHK (PSG)
                                   SAMSUNG’S MOTION FOR JMOL, NEW TRIAL, AND/OR REMITTITUR
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 1                                             NOTICE OF MOTION
 2                 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3                 PLEASE TAKE NOTICE that Defendants Samsung Electronics Co., Ltd., Samsung

 4 Electronics America, Inc., and Samsung Telecommunications America, LLC (collectively,

 5 “Samsung”)1 shall and hereby do move the Court for judgment as a matter of law pursuant to Fed.

 6 R. Civ. P. 50(b), renewing Samsung’s prior request pursuant to Fed. R. Civ. P. 50(a), and

 7 alternatively for a new trial and/or remittitur pursuant to Fed. R. Civ. P. 59, as to each and every

 8 claim and issue on which Apple prevailed before the jury, as more fully set forth below.2

 9                 This motion for judgment as a matter of law is made on the grounds that no reasonable jury

10 could have found that any of Apple’s asserted design patents was applied to Samsung’s entire

11 accused smartphones; that no reasonable jury could have failed to find that Apple’s D’305 patent

12 was applied only to the smartphones’ display screens; that no reasonable jury could have failed to

13 find that Apple’s D’677 patent was applied only to the smartphones’ glass front faces; that no

14 reasonable jury could have failed to find that Apple’s D’087 patent was applied only to the

15 smartphones’ glass front faces with bezels; that no reasonable jury could have failed to adopt

16 Samsung’s proffered calculations of the proportion of its profits attributable to the above-

17 identified component articles of manufacture; that no reasonable jury could have failed to find that

18 Samsung’s operating expenses (i.e., sales, marketing, general and administrative (G&A), and
19 research and development (R&D) costs) were reasonably allocated to the infringing products and

20 therefore deductible in determining its “total profit” under 35 U.S.C. § 289; and that no reasonable

21 jury could have determined that Samsung’s “total profit” exceeded $28.085 million (or alternative

22 calculations set forth herein should the Court grant this motion only in part). The motion for a

23 new trial and/or remittitur is made on the grounds that the jury’s verdict is excessive and against

24

25         Effective January 1, 2015, Samsung Telecommunications America (“STA”) merged with
               1

   and into Samsung Electronics America, and therefore STA no longer exists as a separate corporate
26 entity.
       2
           Samsung is not hereby moving for relief with respect to the jury’s damages awards
27 regarding Apple’s utility patent numbers 7,469,381 and 7,864,163. Accordingly, the references
   herein to the jury’s damages awards refer to the awards for infringement of Apple’s design
28 patents.

                                                        -i-                    Case No. 11-cv-01846-LHK
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 1 the weight of the evidence on each and every issue identified above, and that the evidence

 2 supports a verdict of no more than $28.085 million (or alternative calculations set forth herein

 3 should the Court grant this motion only in part).

 4             This motion is based on this notice of motion; the accompanying memorandum of points

 5 and authorities; the accompanying declaration of Michael Wagner; the records of this Court, the

 6 U.S. Court of Appeals for the Federal Circuit, and the U.S. Supreme Court; and such other written

 7 or oral argument as may be presented at or before the time this motion is taken under submission

 8 by the Court.

 9                                          RELIEF REQUESTED
10             Samsung respectfully requests that the Court enter judgment as a matter of law that:

11                i.   Apple’s D’305 patent was not applied to Samsung’s entire accused smartphones;

12               ii.   Apple’s D’677 patent was not applied to Samsung’s entire accused smartphones;

13              iii.   Apple’s D’087 patent was not applied to Samsung’s entire accused smartphones;

14              iv.    Apple’s D’305 patent was applied only to the smartphones’ display screens;

15               v.    Apple’s D’677 patent was applied only to the smartphones’ glass front faces;

16              vi.    Apple’s D’087 patent was applied only to the smartphones’ glass front faces with

17                     bezels;

18              vii.   the proportions of Samsung’s profits attributable to the above-identified
19                     component articles of manufacture are as calculated by Samsung’s expert Mr.

20                     Wagner;

21             viii.   Samsung’s sales, marketing, G&A, and R&D costs are deductible in calculating

22                     Samsung’s “total profit” under 35 U.S.C. § 289; and

23              ix.    Samsung’s “total profit” was no more than $28.085 million (or alternative

24                     calculations set forth herein should the Court grant this motion only in part).

25             In the alternative, Samsung respectfully requests that the Court grant a new trial, or new

26 trial conditioned on Apple’s rejection of a remittitur to $28.085 million (or alternative calculations
27 set forth herein should the Court grant this motion only in part).

28             Additionally, Samsung respectfully requests that the Court rule that the jury:

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 1               a. found that Apple’s D’305 patent was applied to Samsung’s entire phones;

 2               b. found that Apple’s D’677 patent was applied to the display assemblies of

 3                  Samsung’s phones;

 4               c. found that the proportions of Samsung’s profits attributable to its display

 5                  assemblies were as calculated by Samsung’s expert Mr. Wagner; and

 6               d. did not deduct any of Samsung’s sales, marketing, G&A, and R&D costs in

 7                  calculating its “total profit” under 35 U.S.C. § 289.

 8

 9 DATED: June 7, 2018                        QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
10

11

12                                               By /s/ Victoria F. Maroulis
                                                   John B. Quinn
13                                                 Kathleen M. Sullivan
                                                   William C. Price
14                                                 Michael T. Zeller
                                                   Kevin P.B. Johnson
15
                                                   Victoria F. Maroulis
16
                                                    Attorneys for SAMSUNG ELECTRONICS CO.,
17                                                  LTD., SAMSUNG ELECTRONICS AMERICA,
                                                    INC., and SAMSUNG
18                                                  TELECOMMUNICATIONS AMERICA, LLC
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                                                                 -vi-                    Case No. 11-cv-01846-LHK
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 1                             MEMORANDUM OF POINTS AND AUTHORITIES
 2                 Pursuant to Fed. R. Civ. P. 50(b), Samsung renews its Fed. R. Civ. P. 50(a) motion for

 3 judgment as a matter of law (“JMOL”), see Tr. 1348:12-1356:25. Samsung respectfully requests

 4 that the total profit award be reduced as a matter of law to $28.085 million to reflect that the

 5 relevant articles of manufacture (“AOMs”) are the glass front face, glass front face with bezel, and

 6 display screen of Samsung’s phones (not the entire phones) and to deduct operating costs, or in the

 7 alternative reduced as a matter of law to the other amounts as set forth in Part IV below if the

 8 Court declines to adopt Samsung’s position in full. Alternatively, pursuant to Fed. R. Civ. P. 59,

 9 Samsung requests remittitur to those same amounts or a new trial.

10                                           STATEMENT OF FACTS
11                 At step one of the Supreme Court’s § 289 framework—“identify the ‘article of

12 manufacture’ to which the infringed design has been applied,” Samsung Elecs. Co. v. Apple Inc.,

13 137 S. Ct. 429, 434 (2016)—Apple sought to prove that the relevant AOMs for each asserted

14 design patent were Samsung’s entire smartphones.                Samsung rebutted Apple’s position by

15 introducing evidence that the patented designs were applied only to components of the phones:

16 the glass front faces (D’677), glass front faces with bezels (D’087) and display screens (D’305).

17 Apple offered no alternative AOM evidence of its own, resting its case on its entire-phone theory.

18                 At step two—“calculate the infringer’s total profit made on that article of manufacture,”
19 Samsung, 137 S. Ct. at 434—Apple asserted that Samsung’s total profit was $1,067,128,207. Tr.

20 PX25K.4. Apple calculated that amount by subtracting Samsung’s cost of goods sold from its

21 total revenue, making no deduction for operating expenses. See Tr. 825:22-826:3 (Davis assumed

22 entire phone was AOM); Tr. 737:16-19, 739:12-15, 770:16-24, 826:19-22 (Davis; no deduction

23 for operating expenses); PX25K.4.3

24                 Samsung introduced evidence that the total profit from the relevant AOMs was $28.085

25 million. Tr. 1060:17-1061:1 (Wagner); DX 4537.002. Samsung’s expert Wagner testified that he

26        Because of differences in notice dates, Apple sought total profit only based on the D’677
               3

   patent for the period April 15, 2011 through June 15, 2011. Apple sought total profit for units
27 found to infringe both the D’305 and D’677 patents for the period June 16, 2011 to June 30,
   2012. See PX25L.3. Each unit found to infringe the D’087 patent also infringed the D’305 patent,
28 so Apple did not separately seek profits for the D’087 patent. See Tr. 708:2-8 (Davis).

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 1 derived this figure by (1) determining the amount of Samsung’s profit on each phone by deducting

 2 costs of goods sold and operating expenses with a nexus to the adjudicated products, and then (2)

 3 multiplying that entire-phone profit figure by the percentage of each phone’s total material costs

 4 that were attributable to each relevant AOM (the glass front face (D’677), glass front face with

 5 bezel (D’087), and display screen (D’305)). Tr. 1031:3-1049:6 (Wagner; cost deduction); 1055:1-

 6 1061:1 (Wagner; component cost percentages); DX4536.004; DX4537.002-003.

 7             The jury awarded Apple $533,316,606 in Samsung’s profits, or 49.98% of the total amount

 8 that Apple had sought. Dkt. 3806. Over Samsung’s objection (Dkt. 3720), the Court used a

 9 verdict form providing for a single damages amount for each product without identifying the

10 relevant AOMs, as Samsung had requested (Dkt. 3671-2). In this circumstance, it is appropriate to

11 “work[] the math backwards” to determine the basis for the awards, Lucent Techs., Inc. v.

12 Gateway, Inc., 580 F.3d 1301, 1336-37 (Fed. Cir. 2009); see Telcordia Techs., Inc. v. Cisco Sys.,

13 Inc., 612 F.3d 1365, 1378 (Fed. Cir. 2010); In re First Alliance Mortg. Co., 471 F.3d 977, 1001-03

14 (9th Cir. 2006), as this Court recognized in its 2013 order granting a partial retrial, Dkt. 2271, at 8.

15             Working the math backwards by comparing the jury’s verdicts with the experts’ damages

16 calculations reveals the following:      First, because the jury awarded 100% of Apple’s profit

17 calculation for each unit found to infringe the D’305 patent, it must have found that the D’305

18 patent was applied to Samsung’s entire phones. Second, the jury must have found that the D’677
19 patent was applied to the display assemblies in Samsung’s phones because, for each unit found to

20 infringe only the D’677 patent, awarded a percentage of Apple’s profit calculation that precisely

21 reflected Wagner’s calculation of the display assembly’s cost as a percentage of each phone’s total

22 material cost. Third, the jury did not deduct any of Samsung’s operating costs for any of the

23 phones. Fourth, because each unit found to infringe the D’087 patent also infringed the D’305

24 patent, the jury (heeding the double recovery bar) must not have awarded any amounts for the

25 D’087 patent separate from the D’305 patent. The jury’s awards are analyzed in the following

26 chart (see also Wagner Decl. ¶¶ 11-21), which shows Apple’s per-patent profit calculations
27 (PX25.L3), Mr. Wagner’s cost percentages for the display assembly (DX4536.002), and the jury’s

28 verdict (Dkt. 3761):

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 1             Product        Design Patent(s)4     Apple Entire Display     Jury’s            Basis of
                                                    Phone Profit Assembly    Award              Jury’s
 2                                                  Calculations  Cost5                        Award
               Captivate      D’305 only             $16,618,320        -- $16,618,320        100% of
 3                                                                                             Apple’s
                                                                                               request
 4
               Continuum      D’305 only               $5,149,345         --    $5,149,345    100% of
 5                                                                                             Apple’s
                                                                                               request
 6             Droid Charge   D’305 only              $54,839,113         --   $54,839,113    100% of
                                                                                               Apple’s
 7                                                                                             request
               Epic 4G        D’305 only              $43,486,055         --   $43,486,055    100% of
 8                                                                                             Apple’s
                                                                                               request
 9
               Gem            D’305 only               $4,434,398         --    $4,434,398    100% of
10                                                                                             Apple’s
                                                                                               request
11             Indulge        D’305 only              $15,681,286         --   $15,681,286    100% of
                                                                                               Apple’s
12                                                                                             request
               Galaxy S II    D’677 only             $101,235,891     26.6% $26,928,747       26.6% of
13             (AT&T)                                                                          Apple’s
                                                                                               request
14             Galaxy S II    D’677 only             $250,817,469     25.3% $63,456,820       25.3% of
               (Epic 4G                                                                        Apple’s
15             Touch)                                                                          request
16             Galaxy S II    D’677 only              $80,683,895     24.9% $20,090,290       24.9% of
               (Skyrocket)                                                                     Apple’s
17                                                                                             request
               Galaxy S II (T‐ D’677 only            $209,479,270     25.8% $54,045,652       25.8% of
18             Mobile)                                                                         Apple’s
                                                                                               request
19             Fascinate      D’305/D’677              $4,835,386         --    $4,835,386    100% of
                              D’677-only period       $13,865,764     29.2%     $4,048,803     Apple’s
20                                                                                              D’305
                                                                                $8,884,189
                                                                                              request +
21                                                                                            29.2% of
                                                                                               Apple’s
22                                                                                           D’677-only
                                                                                               request
23
               Galaxy S       D’305/D’677             $28,466,835         -- $28,466,835      100% of
24             Showcase       D’677-only period        $8,070,867     27.2% $2,195,276         Apple’s
               (i500)                                                        $30,662,111        D’305
25                                                                                            request +

26               4
         Although the Fascinate, Galaxy S 4G, Galaxy S Showcase (i500), Infuse 4G, Mesmerize,
   and Vibrant products were found to infringe multiple patents, some individual units of those
27 phones infringe only the D’677, because of its earlier notice date. Wagner Decl. ¶ 15.
      5
          The display assembly cost percentages vary slightly due to differences in material costs
28 between the particular phones and their components. Wagner Decl. ¶ 14.

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 1             Product         Design Patent(s)4      Apple Entire Display           Jury’s         Basis of
                                                      Phone Profit Assembly          Award           Jury’s
 2                                                    Calculations  Cost5                           Award
                                                                                                   27.2% of
 3                                                                                                  Apple’s
                                                                                                  D’677-only
 4                                                                                                  request
 5             Infuse 4G       D’305/D’677              $69,223,026           -- $69,223,026       100% of
                               D’677-only period        $21,820,630       32.0% $6,982,602          Apple’s
 6                                                                               $76,205,628         D’305
                                                                                                   request +
 7                                                                                                  32% of
                                                                                                    Apple’s
 8                                                                                                D’677-only
                                                                                                    request
 9             Mesmerize       D’305/D’677              $30,560,743           -- $30,560,743       100% of
                               D’677-only period        $21,714,541       29.2% $6,340,646          Apple’s
10                                                                               $36,901,389         D’305
                                                                                                   request +
11                                                                                                 29.2% of
                                                                                                    Apple’s
12                                                                                                D’677-only
                                                                                                    request
13             Galaxy S 4G     D’305/D’677/D’087        $71,640,437           -- $71,640,437       100% of
                               D’677-only period        $14,476,115       29.6% $4,284,930          Apple’s
14                                                                               $75,925,367         D’305
                                                                                                   request +
15                                                                                                 29.6% of
                                                                                                    Apple’s
16                                                                                                D’677-only
                                                                                                    request
17             Vibrant         D’305/D’677/D’087                 $0           --            $0     27.4% of
                               D’677-only period            $28,821       27.4%         $7,897      Apple’s
18
                                                                                        $7,897    D’677-only
19                                                                                                  request

20                                                   ARGUMENT

21                  Under Fed. R. Civ. P. 50(b), JMOL is required where a plaintiff fails to present a legally

22 sufficient basis for a reasonable jury to rule in its favor, Lakeside-Scott v. Multnomah Cty., 556

23 F.3d 797, 802 (9th Cir. 2009), i.e., where the record does not contain “relevant evidence that a

24 reasonable mind would accept as adequate to support a conclusion” for the plaintiff on a given

25 issue, Callicrate v. Wadsworth Mfg., Inc., 427 F.3d 1361, 1366 (Fed. Cir. 2005) (citing Gillette v.

26 Delmore, 979 F.2d 1342, 1346 (9th Cir. 1992)). “[A] reasonable inference cannot be supported by
27 only threadbare conclusory statements instead of significant probative evidence.” Lakeside-Scott,

28 556 F.3d at 802-03. The Court must “apply the law as it should be, rather than the law as it was

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 1 read to the jury, even if the [moving] party did not object to the jury instructions.” Fisher v. City

 2 of San Jose, 558 F.3d 1069, 1074 (9th Cir. 2009) (en banc) (quotation omitted).

 3             Calculating the amount of Samsung’s “total profit” under § 289 requires determination of

 4 two issues: the identity of the relevant AOMs and the total profit from each relevant AOM.

 5 Samsung, 137 S. Ct. at 434. In this case, it was undisputed that if (at step one) the relevant AOM

 6 was found to be a product component, then the total profit from that component (step two) could

 7 be determined by (i) deducting entire-product expenses from entire-product revenues to calculate

 8 Samsung’s entire-product profit, and then (ii) multiplying that amount by the percentage of

 9 Samsung’s entire-phone material cost that was attributable to each AOM. Tr. 826:9-18 (Davis);

10 1121:4-17 (Wagner). As shown in Parts I-III below, Samsung is entitled to JMOL on each of

11 these issues. It follows that Samsung is entitled to JMOL on the ultimate amount of its “total

12 profit” under § 289, or at minimum to a new trial conditioned on remittitur.

13 I.          SAMSUNG IS ENTITLED TO JMOL ON THE RELEVANT AOMS
14             As shown above, the jury necessarily found that the D’305 patent was applied to the

15 relevant phones in their entirety and that the D’677 patent was applied only to the relevant phones’

16 display assemblies (not the entire phones). Those findings eliminated any need for the jury to

17 determine the relevant AOMs for the D’087 patent: each unit found to infringe the D’087 patent

18 also infringed the D’305 patent, and the jury’s entire-phone finding for the D’305 patent meant
19 that such units were already subject to an award of entire-phone profits.

20             While the jury rightly found that Apple had not carried its burden to show that the D’677

21 design was applied to Samsung’s entire phones, no reasonable jury could find that Apple carried

22 its burden as to the other patented designs at issue as shown in Part I.A. In fact, as shown in Part

23 I.B-C, no reasonable jury could find that Apple’s designs were applied to any AOM other than

24 those that Samsung identified.

25             A.     Apple’s Designs Were Not Applied To The Entire Phones As A Matter Of Law
26             Samsung is entitled to JMOL that none of Apple’s patented designs was applied to any
27 entire Samsung product. This conclusion follows from three related legal rules.

28             First, under basic principles of design-patent law, a design that covers only a limited

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 1 exterior component of a complex device like a smartphone can only be applied to the particular

 2 component on which the design appears. A design patent protects only “that which gives a

 3 peculiar or distinctive appearance to the [article of] manufacture,” i.e., the claimed design.

 4 Gorham Mfg. Co. v. White, 81 U.S. 511, 525 (1871), quoted in Samsung, 137 S. Ct. at 432; see In

 5 re Zahn, 617 F.2d 261, 268 (C.C.P.A. 1980). And a patented design cannot cover an “article[]

 6 which [is] concealed or obscure in normal use…, since [its] appearance cannot be a matter of

 7 concern.” In re Stevens, 173 F.2d 1015, 1019 (C.C.P.A. 1949). Thus, where a patented design

 8 appears only on exterior components of a device that contains concealed internal components, that

 9 design cannot be applied to the internal components. For example, because a patented design

10 covering a piano case appears only on the piano case, as a matter of law the design can be applied

11 only to the piano case (and not to the piano inside). Bush & Lane Piano Co. v. Becker Bros., 222

12 F. 902, 903-05 (2d Cir. 1915). Likewise, because a patented design covering a watch case appears

13 only on the watch case, as a matter of law the design can be applied only to the case (and not to

14 the watch). See Untermeyer v. Freund, 50 F. 77 (C.C.S.D.N.Y. 1892), aff’d, 58 F. 205 (2d Cir.

15 1893)). Similarly, because a patented design covering a refrigerator latch appears only on the

16 latch, as a matter of law the design can be applied only to the latch (and not to the refrigerator).

17 See Young v Grand Rapids Refrigerator Co., 268 F 966, 973-74 (6th Cir. 1920). As in these

18 cases, because Apple’s patented designs for certain externally visible components of a smartphone
19 appears only on those visible components, as a matter of law—and as Apple admitted before the

20 Supreme Court—such designs can be applied only to those external components and are not

21 applied to the internal “chips and wires” of Samsung’s phones. Samsung Elecs. Co. v. Apple, Inc.,

22 No. 15-777, Tr. 40, (U.S.) (colloquy with Roberts, C.J.); see id. at 43, 51, 52 (Roberts, C.J., Alito

23 & Sotomayor, JJ.).

24             Second, a design that appears on a particular product component is applied only to that

25 component, even if other components cause the design to appear on the component covered by

26 the design. As the Federal Circuit’s predecessor explained in In re Hruby, 373 F.2d 997 (C.C.P.A.
27 1967), “the dependence of the existence of a design on something outside itself” is not a reason to

28 hold that the design was applied to anything beyond the particular AOM on which the design

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 1 appears. Id. at 1001. Thus, a patented design covering the shape of a fountain’s water spray

 2 appears only on the water, so the design is applied only to the water (and not to the mechanism

 3 that produces the water spray). See id.

 4             Third, the trier of fact must identify the relevant AOM based on the infringing product as

 5 it existed at the time of sale. Infringement occurs and a claim for Section 289 profits arises upon

 6 the sale of an AOM to which a patented design has been applied, or of a product in which such an

 7 AOM is a component. See 35 U.S.C. §§ 271, 289. The AOM to which a patented design was

 8 applied must therefore be determined by considering whether, as of the time of sale, the patented

 9 design was applied to the entire product or only a component of the product. Whether the patented

10 design was applied to or appears on a component after the component has been separated from the

11 product is irrelevant, for the relevant AOM is determined as of the time of sale.

12             Under these principles, Apple’s designs were not applied to Samsung’s entire smartphones.

13 Apple bore the burden to show that they were, Tr. 1232:17-19, but failed to meet that burden.

14             The D’305 design: This GUI design appears only on the display screen of Samsung’s
15 phones and not on any other phone components. Some internal phone components may cause the

16 GUI design to appear on the screen, but it does not follow that the design is applied to those

17 components. See Hruby, 373 F.2d at 1001 (design was not applied to fountain mechanism even

18 though mechanism caused fountain design to appear). Rather, as the PTO has stated, a GUI
19 design is necessarily “for” or “applied to” the “computer screen, monitor, [or] other display panel”

20 on which the design appears, and “[t]he dependence of a computer-generated icon on a central

21 processing unit and computer program for its existence” does not mean that the design is “for” or

22 applied to more than just the display screen. MPEP § 1504.01(a) (citations omitted). And because

23 the identity of the relevant AOM must be determined at the time of sale, it is immaterial that the

24 display screen is incapable of displaying the design after the screen is separated from the product.

25             In any event, the D’305 patent certainly is not applied to the entire smartphone. Most

26 smartphone components have nothing to do with that design; a smartphone’s external casing, its
27 speakers, or a camera lens, for example, neither show the patented design nor cause it to be shown.

28 The evidence at trial was undisputed that an entire phone was not necessary to show the D’305

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 1 design on a display screen. Tr. 1019:24-1020:20 (Lucente). Indeed, there is no dispute that the

 2 D’305 patent is practiced by products like the iPod (Tr. 962:5-8 (Lucente)) that do not contain all

 3 the features and components of a smartphone. For that reason alone, the D’305 design was not

 4 applied to Samsung’s entire smartphones, as a matter of law.

 5             The D’677 design: The jury found that the D’677 design was not applied to Samsung’s
 6 entire phones, see supra, at 2, and as a matter of law it could not have been. The design appears

 7 only on the glass front face of Samsung’s phones and nowhere else. Although juxtaposition with

 8 the display assembly may cause the glass front face to appear black, that display assembly is

 9 merely the means through which one element of the patented design (the black color) is made to

10 appear on the glass front face. The D’677 design does not appear on the display assembly itself,

11 and it therefore is not applied to that assembly. See Hruby, 373 F.2d at 1001; Tr. 1013:19-1014:17

12 (Lucente). In all events, the entire phone is not required to cause the front face to appear black,

13 and therefore, the D’677 patent is not applied to an entire phone as a matter of law.

14             The D’087 design: A fortiori, the D’087 design cannot be applied to an entire phone.
15 The claimed design appears only a phone’s front face and bezel, and there is no dispute that its

16 appearance does not depend on any other component.

17             B.     No Reasonable Jury Could Find Under The Court’s Four-Factor Test That
                      The Designs Were Applied To Any Article Of Manufacture Other Than The
18                    Glass Front Face, Glass Front Face With Bezel, And Display Screen
19             Samsung is also entitled to JMOL that, under the Court’s four-factor test, the AOMs to

20 which it applied the patented designs are the particular components that Samsung identified at

21 trial. See Tr. 1231:11-1232:1 (four-factor test).

22                    1.     Phones Found To Infringe Only The D’305 Patent
23             With respect to the six phones found to infringe only the D’305 patent (Captivate,

24 Continuum, Droid Charge, Epic 4G, Gem, and Indulge), no reasonable jury could find that the

25 relevant AOM is anything other than a phone’s display screen.

26             Factor 1. The scope of a patented design is a matter of law for the Court to decide. Cf.
27 Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996); Egyptian Goddess, Inc. v.

28 Swisa, Inc., 543 F.3d 665, 679 (Fed. Cir. 2008) (en banc). Here, it is undisputed that the D’305

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 1 patent covers a single, specific grid of 16 GUI icons. JX1042; see Tr. 962:15-16 (Lucente: patent

 2 claims “one single image of a graphical array of icons”). Apple’s expert Kare admitted that

 3 “nothing outside of th[e] image” depicted in the D’305 patent “is actually claimed,” that the

 4 patent’s scope is “limited to what’s inside” the broken lines on the image, that “it’s just this one

 5 image which is what is claimed in this patent,” and that the patent “doesn’t claim any part of the

 6 inside of the phone or the outside of the phone.” Tr. 644:23-645:20, 646:5-7. The patent

 7 description confirms that the broken lines limit the scope of the claim. JX1042.2 (“The broken

 8 line showing of a display screen in both views forms no part of the claimed design.”); Tr. 1229

 9 (Instruction 26). And Apple is precluded from seeking to expand the claim beyond the single

10 patented grid because, in order to obtain the D’305 patent, it affirmatively surrendered nearly 200

11 GUI images that had been included in its application. See Pac. Coast Marine Windshields Ltd. v.

12 Malibu Boats, LLC, 739 F.3d 694, 701-02 (Fed. Cir. 2014); JX1063.117-.128; JX1042.2.

13             Factor 2. No reasonable jury could find that the D’305 design “is a significant attribute of
14 the entire product, affecting the appearance of the product as a whole,” as would be necessary for

15 factor two to support an entire-product AOM (U.S. Br. 28; see Dkt. 3645 at 11). As Kare agreed,

16 this inquiry requires the factfinder to “look at the product as a whole,” “assessing the prominence

17 of this one page of the graphical user interface” in relation to “all th[e] different functions,

18 features, components” that go into the product. Tr. 650:1-18.6 But the D’305 design does not
19 even appear on the Samsung phones’ home screens (Tr. 389:22-390:12 (Joswiak); Tr. 650:21-

20 651:13 (Kare)), and Apple did not accuse the home screens of Samsung phones of using the D’305

21 design, Tr. 661:11-16 (Kare). Instead, the design appears only on an app menu that “you’d have

22 to go two screens in” to even see (Tr. 651:1-4 (Kare); see Tr. 964:5-14 (Lucente)), and the

23 Samsung devices allowed users put their most used icons on the home screen so that they rarely

24 needed to access the app menu (Tr. 967-968 (Lucente)), a fact that Kare did not consider (Tr.

25 652:1-653:8). No reasonable jury could find that Apple carried its burden of proof (Tr. 1232:17-

26
       6
           This factor addresses the design’s relative prominence within Samsung’s phones, not the
27 iPhone. Tr. 456:12-457:5 (Howarth). For that reason, much of Apple’s presentation was
   irrelevant because it concerned the iPhone—not Samsung’s phones. See, e.g., Tr. 606:16-607:6
28 (Kare testifying that the D’305 was prominent within the iPhone and had “cultural prominence”).

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 1 19 (Instruction 29)) to establish that the D’305 design affected the appearance of Samsung’s

 2 phones as a whole.

 3             On the other hand, “[i]f the design is a minor component of the product …, or if the

 4 product has many other components unaffected by the design,” then factor two supports a finding

 5 that the relevant AOM is a component. U.S. Br. 28; see Dkt. 3645 at 11. A reasonable jury could

 6 only find for Samsung on these issues: The relevant phones are in evidence and reveal many

 7 design and utilitarian features that are not affected by the patented design (including internal

 8 componentry). See JX1011 (Captivate); JX1016 (Continuum); JX1025 (Droid Charge); JX1012

 9 (Epic 4G); JX1020 (Gem); JX1026 (Indulge); see also DX4569. Indeed, it is undisputed that the

10 phones contain hundreds of components and features that are unaffected by the design. See, e.g.,

11 Tr. 629:17-632:1 (Kare: Samsung’s phones “are comprised of many parts”); Tr. 969:3-15

12 (Lucente: Samsung interface made up of “thousands of screens”); Tr. 973:18-19 (Lucente: “There

13 are thousands of components in a smartphone.”). Samsung advertising and marketing did not

14 focus on the D’305 design, but instead highlighted other features. DX4606; DX4607; DX4528.

15 And Apple’s own survey data shows that while consumers find many phone features to be

16 important to purchasing decisions, the D’305 design is not one of them. See DX572.027.

17             Factor 3. No reasonable jury could find that the D’305 design is not conceptually distinct
18 from a smartphone, because the two plainly “respond to different concepts” or ideas. Bush &
19 Lane Piano Co. v. Becker Bros., 234 F. 79, 82 (2d Cir. 1916) (Piano II). It is undisputed that a

20 GUI image is displayed only for part of the time that the smartphone is turned on (see Tr. 389:22-

21 390:12 (Joswiak); Tr. 650:21-651:13, Tr. 652:1-653:8 (Kare)), that a smartphone need not practice

22 the D’305 patent (e.g., JX5012 (Galaxy S II (AT&T)); JX5014 (Galaxy S II (Epic 4G Touch));

23 JX5015 (Galaxy S II (Skyrocket)); JX5013 (Galaxy S II (T-Mobile))), and that the D’305 design

24 can be displayed on non-phone devices such as Apple’s “iPod products” (Tr. 962:5-8 (Lucente)).

25 Display screens likewise occur in myriad devices—televisions, computers, tablets, and so on. Tr.

26 537:12-13 (Ball); 887:25-888:1 (D. Kim); 941:1-943:10 (Lucente). It is, again, undisputed that a
27 smartphone contains “thousands of components” (Tr. 973:18-19 (Lucente)), such as a battery and

28 a camera, which embody concepts that are distinct both from one another and from a smartphone

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 1 (see Tr. 587:24-588:19 (Ball)).         And it is undisputed that at the relevant times, a typical

 2 smartphone practiced more than 200,000 patents, each representing a discrete invention. Tr.

 3 973:23 (Lucente). No reasonable jury could find that the concept of a smartphone is

 4 indistinguishable from the concept of the D’305 design.

 5             Factor 4. It is undisputed that the display screen on which the D’305 design may appear is
 6 “made by hand or machine” and “is an article [of manufacture] that is typically part of a device,”

 7 and that the Samsung phones “are comprised of many parts” that are physically distinct from the

 8 display screens. Tr. 629:17-632:1 (Kare); see Tr. 878:15-23 (J. Kim: Samsung phones contain

 9 “hundreds” of components). The physically separated display screens are in evidence. JX5001

10 (Captivate); JX5005 (Continuum); JX5009 (Droid Charge); JX5002 (Epic 4G); JX5008 (Gem);

11 JX5010 (Indulge); see DX4569 (images of disassemblies). A display screen “can be physically

12 removed” from an iPhone once it is assembled (see Tr. 478:23 (Blevins)), and the same is true of

13 Samsung’s phones (see Tr. 623:15-624:11 (Kare)); Tr. 660:17-25 (Kare acknowledging that “the

14 display screen” may be “separated from the phone”)). Lucente took a Samsung phone apart and

15 replaced the display screen himself. Tr. 947:12-950:23. Nor is it disputed that “all of the parts”—

16 including the display screen—“are manufactured separately and assembled into a smartphone.”

17 Tr. 589:17-18 (Ball); Tr. 983:9-984:15 (Lucente: components are “manufactured separately”);

18 DX4568 (specification documents showing separate manufacture of display screens). The display
19 screens are both “sold to Samsung” before assembly and also sold separately for repairs. Tr.

20 983:24-984:17 (Lucente); Tr. 948:9-15 (Lucente bought a screen repair kit); DX4568.

21             Apple thus could not refute the evidence that the display screen “is manufactured

22 separately from the rest of [Samsung’s] product[s],” that the screen can be “physically separate[d]

23 from the product as a whole,” and that the screen “can be sold separately” from the phones (Tr.

24 1231:11-1232:1 (Instruction 29)). And Apple’s testimony as to whether the screen is easily

25 separated, regularly sold separately to consumers, or whether the display screen needs additional

26 components like a power supply to create the infringing image (e.g., Tr. 622-624 (Kare); Tr. 1017-
27 1018 (Lucente cross); Tr. 851-854 (Blackard cross); Tr. 896-897 (D. Kim cross); Tr. 1264-1265

28 (Apple closing argument)), is legally irrelevant. The Court’s test (Tr. 1231:11-1232:1) addresses

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 1 only whether one “can” separate or sell the relevant AOMs—whether it is possible to do so. And

 2 the Supreme Court made clear that a component of a device may be the relevant AOM “whether

 3 sold separately or not.” Samsung, 137 S. Ct. at 436. Under the correct test, no reasonable jury

 4 could find that the display screens are not physically separable from Samsung’s phones.

 5             In sum, applying the Court’s four factors, a reasonable jury would be compelled to

 6 conclude that the D’305 design was applied only to a phone’s display screen. As shown (supra

 7 Part I.A), the design is not applied to the numerous phone components on which the design does

 8 not appear or the power supply and other components that may cause the design to be applied to

 9 the display screen. See Hruby, 373 F.2d at 1001. And Apple never even attempted to show that

10 the D’305 design was applied to any phone component greater than the display screen itself.

11                    2.     Phones Found To Infringe Only The D’677 Patent
12             With respect to the four phones found to infringe only the D’677 patent (Galaxy S II

13 (AT&T), Galaxy S II (Epic 4G Touch), Galaxy S II (Skyrocket), and Galaxy S II (T-Mobile)), no

14 reasonable jury could find that the relevant AOM is anything but the glass front face. While the

15 jury correctly found that the D’677 design was not applied to Samsung’s entire phones (see supra,

16 at 2), the Court should grant JMOL that the relevant AOM is in fact the glass front face.

17             Factor 1. It is undisputed that the D’677 patent (JX1043) covers what its figures show in
18 solid lines: “a rectangular, round cornered, black front face.” Tr. 449:6-21 (Howarth); see Tr.
19 503:25-504:12 (Ball: “The solid lines indicate the protected or claimed design,” namely “a

20 rectangular surface” with “corners of a specific radius” and “a black top … that’s got some

21 reflectivity”); Tr. 562:12-14 (Ball agreeing that “the design claimed is just the front face”); Tr.

22 1228 (Instruction 26). Apple’s design expert Ball admitted that the patent “doesn’t claim the

23 back” of a device (Tr. 554:21) or “whatever is inside, whatever article … or device that this black

24 face is on top of” (Tr. 554:22-24). And Apple is precluded from seeking to recapture any of the

25 many alternative designs that it surrendered (including for an entire exterior of a device) in order

26 to receive the patent on a design for just a black front face. See Pac. Coast Marine, 739 F.3d at
27 701-02; see JX1064.178-.179, .193, .202.

28             Moreover, because a design patent protects only the claimed design, see Zahn, 617 F.2d at

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 1 268, the scope of the design is not expanded by language in the patent that goes beyond what is

 2 claimed in the drawings. Thus, the words “electronic device” and “article of manufacture” do not

 3 alter the scope of the design under factor 1: As Ball admitted (Tr. 552:7-553:8), Apple’s attorneys

 4 and designers selected those words, and did so before this Court adopted the four-factor test. And

 5 that language was selected before the Supreme Court held that the term “article of manufacture” is

 6 not a synonym for “an end product sold to a consumer.” Samsung, 137 S. Ct. at 436; see JX1064

 7 (D’677 file history); Tr. 1231 (Instruction 29:         USPTO has not “determined the articles of

 8 manufacture in this case”); Tr. 955:4-9 (Lucente: the phrase “electronic device” does not “tell you

 9 anything about the scope of the claim”); Tr. 958:21-960:5 (similar); Tr. 955:16-956:13 (explaining

10 same by reference to patent titled “Electronic Device” but claiming only a design for a small

11 external slot (DX4561)).

12             Matter that is expressly disclaimed via broken lines likewise is not within the scope of the

13 claim. See Tr. 1228 (Instruction 26: “The broken lines in the D’677 patent constitute unclaimed

14 subject matter.”); JX1064, at 14, 178, 200 (D’677 file history). As Ball admitted, “the entire

15 phone isn’t shown in solid line[s], so the entire design of the phone isn’t claimed.” Tr. 504:21-22;

16 see Tr. 554:9-13 (Ball: broken lines “indicate[] areas that aren’t part of the claim”).

17             Factor 2. No reasonable jury could find that the D’677 design is a prominent feature
18 relative to the whole of a smartphone. The design does not “affect[] the appearance of the product
19 as a whole” (U.S. Br. 28; see Dkt. 3645 at 11), but appears only on “the front face of the Samsung

20 phone” (Tr. 958:4-5 (Lucente)). And even the effect on the front face is minor, since “simply

21 changing a small detail” can render a phone non-infringing. Tr. 970:13-971:2 (Lucente).

22             Conversely, it is again undisputed that Samsung’s phones contain hundreds of components

23 that are unaffected by the D’677 design. See supra, at 10; Tr. 629:17-632:1 (Kare); Tr. 973:18-19

24 (Lucente). Ball admitted that Samsung’s phones “have features, such as taking pictures, taking

25 video, [and] sending texts,” that Samsung “advertise[s] those features extensively,” and that

26 Apple’s “patents do not cover those prominent features.” Tr. 587:3-11. The phones are in
27 evidence (JX1031; JX1034; JX1035; JX1033), and they reveal many features and components

28 other than the D’677 design. Samsung’s advertising and marketing likewise highlighted design

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 1 and utilitarian features other than the phones’ black front faces. See DX4606; DX4607; DX4528;

 2 see also DX572.027 (Apple survey showing features most significant to purchasing decisions). No

 3 reasonable jury could find the D’677 design to be prominent within Samsung’s phone as a whole.

 4             Factor 3. No reasonable jury could fail to find that the concept of the D’677 design is
 5 distinct from the concept of a smartphone. Just as the design for a book’s cover is conceptually

 6 distinct from a book, and just as the design for a piano case is conceptually distinct from a piano,

 7 see Piano II, 234 F. at 82, the concept of a smartphone’s front face is distinct from the concept of

 8 the smartphone itself: the smartphone and the front face represent “very different ideas.” Tr.

 9 972:21-973:12 (Lucente). While Ball presented a printer with a “flat front face” “control panel” as

10 purported evidence that a front face is conceptually identical to a smartphone (Tr. 537:12-16), this

11 example shows the opposite: A flat front face design like the D’677 design can be used in any

12 number of different devices (not just in a phone), because it represents its own discrete idea. And

13 Ball also admitted that a glass front face is conceptually different from a phone’s other

14 components and inventions, such as its battery and camera. Tr. 587:24-588:10. No reasonable

15 jury could find the D’677 design to be conceptually indistinct from a phone as a whole.

16             Factor 4. It is undisputed that Samsung’s glass front faces are manufactured separately
17 from the rest of a phone.           Tr. 589:16-18 (Ball); see Tr. 983:9-17 (Lucente); DX4568

18 (manufacturing specification showing glass manufactured separately); Tr. 889-890 (D. Kim);
19 DX4520 (Samsung window glass spreadsheet); Tr. 894-895 (D. Kim regarding DX4520); Tr. 912-

20 913 (Sheppard regarding repair glass component); Tr. 1051-1052 (Wagner); see also Tr. 395:10-

21 12 (Joswiak discussing iPhone); Tr. 483:10-22 (Blevins discussing iPhone); DX4549 (Apple

22 agreement with Dow Corning for front glass). It is also undisputed that the glass front faces can

23 be physically separated from the phones, including for repair. Tr. 540:11-13, 588:21-25 (Ball); Tr.

24 912-913 (Sheppard regarding repair process for Samsung phones); Tr. 460:20-461:13 (Howarth

25 agreeing that “glass front faces can be removed from [Samsung’s] phones”); see also Tr. 395:21-

26 23 (Joswiak agreeing that iPhone’s glass front face “can … be physically separated from the
27 product as a whole,” “for a repair”); Tr. 475:19-24 (Blevins; similar). The separated components,

28 including front glass, are in evidence (JX5012; JX5014; JX5015; JX5013), as are photographs of

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 1 disassemblies (DX4569) and of a teardown that Apple performed on a Samsung phone (DX2519).

 2 The glass front faces can be sold separately, including for repairs and replacement. Tr. 589:19-25

 3 (Ball); Tr. 466:14-16 (Howarth agreeing that “a lot of people break the glass on their phones and

 4 get that replaced”); Tr. 883:16-884:4 (J. Kim) (Samsung sells replacement glass faces); Tr.

 5 896:24-898:10 (D. Kim; similar); Tr. 912:8-913:14 (Sheppard; similar); Tr. 983:18-984:4

 6 (Lucente; similar); DX4516 (compilation of Samsung repair parts, including glass faces, for sale

 7 online); Tr. 1051:1-1052:15 (Wagner); see also Tr. 484:17-485:2 (Blevins admitting iPhone glass

 8 is sold separately for replacement). On these undisputed facts, no reasonable jury could find that

 9 the glass front face on which the D’677 design appears is not a physically distinct AOM from the

10 phone as a whole.

11             As with the D’305 patent (see supra, at 11-12), Apple’s evidence that Samsung did not

12 typically sell the glass face component to consumers and that the glass needs something behind it

13 to create the consistent black color is legally irrelevant. See, e.g., Tr. 851-854 (Blackard cross);

14 Tr. 883-884 (J. Kim cross); Tr. 896-897 (D. Kim cross); Tr. 1013-1014 (Lucente cross); Tr. 1264

15 (Apple closing argument). Those issues are irrelevant to this factor as described by the Court (Tr.

16 1231:11-1232:1), and any rule that the component must be regularly sold separately would

17 conflict with the Supreme Court’s holding that a component may be the relevant AOM “whether

18 sold separately or not.” Samsung, 137 S. Ct. at 436.
19             Although the jury must have found (see supra, at 2) that the D’677 patent was applied to

20 the display assemblies (not the glass front faces alone), the D’677 patent covers only a design for a

21 front face with a particular shape and color. While the color may be created by juxtaposition with

22 display components that sit behind the glass face, those components are merely the means through

23 which the color is applied to the front face of the phone. As a matter of law, the design is not

24 applied to those components, but rather is applied by them to the front face. See Hruby, 373 F.2d

25 at 1001. Thus, no reasonable jury could have found that the D’677 design was applied to any

26 portion of Samsung’ phones beyond the glass front faces.
27                    3.     Phones Found To Infringe The D’305 And D’677 Patents
28             With respect to the four phones found to infringe both the D’305 and the D’677 (Fascinate,

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 1 Galaxy S Showcase, Infuse 4G, and Mesmerize), no reasonable jury could find that the designs

 2 were applied to any AOM other than the display screen and the glass front face, respectively, for

 3 the reasons above.

 4                    4.     Phones Found To Infringe The D’305, D’677, And D’087 Patents
 5             With respect to the two phones found to infringe all three of Apple’s design patents

 6 (Galaxy S 4G and Vibrant), no reasonable jury could find that the D’305 and D’677 designs were

 7 applied to any AOM other than the display screen and glass front face, respectively, for the same

 8 reasons. As to the D’087 patent, no reasonable jury could find that the design was applied to any

 9 AOM other than the glass front face plus bezel.

10             Factor 1. It is undisputed that the D’087 patent (JX1041) claims a design for a “flat front
11 face and [a] bezel.” Tr. 507:2-12 (Ball); see Tr. 562:12-21 (Ball; similar); Tr. 953:6-9 (Lucente;

12 similar). Howarth admitted that when he put the Galaxy S 4G’s glass front face together with its

13 corresponding bezel, the effect was to create a design that is “really similar” to (i.e., a “colorable

14 imitation” of, 35 U.S.C. § 289) the D’087 design. Tr. 453:13-455:8. The D’087 patent “doesn’t

15 … claim the internal component[s]” of a phone. Tr. 953:23-954:2 (Lucente); see Tr. 507:13-15

16 (Ball: “[t]he actual claim [of the D’087] doesn’t” “cover an entire phone”). The claimed design,

17 moreover, does not include either the words in the patent or the broken lines in its figures. See

18 supra, at 6; Zahn, 617 F.2d at 268. The description, however, confirms that the claim does not
19 extend to anything in broken lines. JX1041, at 4; Tr. 1229 (Instruction 26). And prosecution

20 history estoppel again bars Apple from recapturing the multiple different designs that it

21 surrendered in order to secure the D’087 patent on the front face and bezel, including designs for

22 an entire exterior of a device. Pac. Coast Marine, 739 F.3d at 701-02; see JX1062, at 129, 165.

23             Factor 2. No reasonable jury could find that the D’087 design is relatively prominent
24 within Samsung’s phones in the sense that it “affects the appearance of the product as a whole”

25 (U.S. Br. 28; see Dkt. 3645, at 11). To the contrary, the design affects the appearance of only “the

26 front face and the bezel of the Samsung phones that infringe the D’087 patent” (Tr. 954:5-6
27 (Lucente)), and there again is no dispute that the phones (JX1019; JX1010) contain thousands of

28 other components whose appearance is unaffected by the D’087 design (see supra, at 10).

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 1             Factor 3. Just as the D’677 front face design is conceptually distinct from a smartphone in
 2 that a front face may be used in other products (see supra, at 14), the same is true of the D’087

 3 front face and bezel design. As Howarth explained, the idea of a bezel is traditionally associated

 4 with a clock or watch face, where the bezel acts to protect a piece of glass from damage. Tr.

 5 431:18-24. Given that admission, there can be no dispute that the concept of a front face and bezel

 6 is distinct from the concept a phone: the two relate to distinct ideas. And, again, it is also

 7 undisputed that Samsung’s smartphones contain other components, such as the battery and

 8 camera, that are conceptually distinct from Apple’s design.            Tr. 587:24-588:10 (Ball).    No

 9 reasonable jury could find that the D’087 design is conceptually indistinguishable from Samsung’s

10 smartphones.

11             Factor 4. Finally, no reasonable jury could conclude that the glass front face and bezel are
12 not physically separable components of Samsung’s smartphones. There is no dispute that those

13 parts are manufactured separately from the rest of the product before it is assembled. Tr. 589:17-

14 18 (Ball: “all of the parts are manufactured separately and assembled into a smartphone”); Tr.

15 984:6-8 (Lucente: bezel was separately manufactured and sold to Samsung); DX4568

16 (manufacturing specification documents showing glass front face and bezel manufactured

17 separately); see also Tr. 485:3-8 (Blevins: iPhone bezel is “separately manufactured”). Nor is

18 there a dispute that the front face and bezel can be physically separated from the phones. See Tr.
19 461:10-13 (Howarth admitting that “it’s possible to disassemble” a Samsung phone); Tr. 540:11-

20 13 (Ball acknowledging that the front face and bezel can be physically separated from a Samsung

21 phone); Tr. 588:11-24 (Ball; similar); JX5007, JX5000 (disassembled components); DX4569

22 (photos of disassemblies); DX2519 (Apple teardown of Vibrant); see also Tr. 477:20-478:4

23 (Blevins: bezel can be physically separated from the iPhone); Tr. 485:22-486:3 (Blevins: bezel is

24 a “somewhat commonly replaced” part of an iPhone). And it is undisputed that the front face and

25 bezel can be sold separately. See, e.g., Tr. 984:6-8 (Lucente); see also Tr. 485:22-486:3 (Blevins

26 discussing iPhone); DX4516 (compilation of repair parts for sale online).
27             Apple’s assertions that the front face and bezel are not sold directly to consumers, rather

28 than on the wholesale level and for repairs, see, e.g., Tr. 851:4-854:6 (Blackard cross); Tr. 883:14-

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 1 884:3 (J. Kim cross); Tr. 896:19-897:5 (D. Kim cross); Tr. 1013-1014 (Lucente cross); Tr. 1264

 2 (Apple closing argument), thus cannot provide a legally sufficient basis to conclude that the D’087

 3 patent is applied to Samsung’s entire phones. Factor four asks only whether it is possible to

 4 separate and to sell the components separately (Tr. 1231:11-1232:1), and (again) a product

 5 component may be the relevant AOM “whether sold separately or not,” Samsung, 137 S. Ct. at

 6 436.

 7             In sum, under the four-factor test, a reasonable jury would be compelled to conclude that

 8 the D’087 design was applied only to the glass front faces and bezels of Samsung’s phones.

 9             C.     No Reasonable Jury Could Find Under The Correct Two-Factor Test That
                      The Designs Were Applied To Any Article Of Manufacture Other Than Those
10                    That Samsung Identified
11             As Samsung has previously explained (e.g., Dkt. 3592-2, at 2-4; Dkt. 3723, at 3-5; Tr.

12 1351:15-18, 1352:21-23), determination of the relevant AOM under § 289 requires consideration

13 only of the scope of the design and the physical nature of the product. Factors 2 and 3 of the

14 Court’s test have no basis in the statute. Under the correct two-factor test, and based on the

15 evidence above, no reasonable jury could conclude that the relevant AOMs are anything other

16 than the components that Samsung has identified. The Court should grant JMOL to Samsung.

17 II.         SAMSUNG IS ENTITLED TO JMOL ON THE PERCENTAGES OF ITS ENTIRE-
               PHONE PROFITS THAT ARE ATTRIBUTABLE TO ITS COMPONENT AOMS
18
19             After identifying the relevant AOMs, the next step is to determine the amount of total

20 profit from those AOMs. See Samsung, 137 S. Ct. at 434. It was undisputed at trial that, if the

21 relevant AOMs are components of Samsung’s phones, then the profit from each component may

22 be reliably determined by multiplying Samsung’s profit from the entire phone by the cost of the

23 relevant component taken as a percentage of Samsung’s entire-phone material cost. See Tr. 826:9-

24 18 (Davis); 1121:4-17 (Wagner). Therefore, on the undisputed record here, the fact-finder’s task

25 upon determining that the relevant AOMs were components of Samsung’s phones was to ascertain

26 the percentages of entire-phone profit that are attributable to those component AOMs.
27             No reasonable jury could reject the undisputed evidence on this issue. Samsung presented

28 evidence of each relevant component’s cost and the total material cost of each relevant phone,

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 1 from which Wagner calculated each relevant component’s cost percentage—and, thus, the relevant

 2 profit percentage. DX 4568 (Samsung components); Tr. 1058:5-1059:12 (Wagner testifying to

 3 window glass cost); Tr. 894:14-895:11 (D. Kim confirming window glass data); Tr. 913:15-17

 4 (Sheppard testifying that window glass cost is “$3 to $5”); Tr. 1054:6-20 (Wagner testifying to

 5 bezel cost); Tr. 1053:7-16 (Wagner testifying to display assembly cost); DX4520 (Samsung’s

 6 window glass cost); DX4509 (Samsung’s costed bill of materials); Tr. 1123:21-1124:9 (Wagner

 7 testifying to cost percentages); DX4536.002-.004 (cost percentages). Apple did not contest the

 8 reliability of the underlying data, Tr. 787:10-788:13 (Davis), and presented no rebuttal testimony

 9 or criticism of Wagner’s profit-percentage calculations. A reasonable jury thus would have no

10 basis to reject these percentages.

11 III.            SAMSUNG IS ENTITLED TO JMOL ON THE AMOUNT OF DEDUCTIBLE
                   OPERATING EXPENSES
12

13                 Regardless of whether the relevant AOMs are Samsung’s entire phones or components

14 thereof, the jury was required to calculate Samsung’s profit on the entire phones in order to

15 determine the profit from the relevant AOMs. To determine entire-phone profit, deductible

16 expenses are subtracted from revenues.               Here, the parties disputed at trial whether certain

17 operating expenses (sales, marketing, general and administrative (G&A), and research and

18 development (R&D) costs) are deductible. Samsung is entitled to JMOL that they are.7
19                 A.     Reasonably Allocated Operating Expenses Are Deductible Under § 289 As A
                          Matter Of Law
20

21                 It is well established that operating expenses (sometimes referred to as overhead, or fixed

22             7
             Although in prior trials Samsung bore the burden of proving its expenses, the Supreme
     Court’s decision and this Court’s subsequent decisions on remand require revisiting the issue. See
23   Dow Chem. Co. v. Nova Chems. Corp. (Canada), 803 F.3d 620, 628 (Fed. Cir. 2015) (intervening
     change in law triggers exception to law of the case doctrine). As the Court has ruled, Apple bears
24   the burden to “identify[] the relevant article of manufacture for the purpose of § 289 and [to]
     prove[e] the defendant’s total profit on [the relevant] article.” Dkt. 3530, at 24. The identification
25   of the relevant costs is an aspect of determining the defendant’s total profit, and the burden on
     each issue should accordingly lie with the same party—here, Apple. Moreover, the law is clear
26   that in general “[t]he burden of proving damages falls on the patentee,” Lucent, 580 F.3d at 1324,
     and the legislative history of § 289 shows Congress’s intent that the patentee may only recover
27   “the profit actually made on the infringing article if he can prove that profit.” H.R. Rep. No. 49-
     1966, at 3 (emphasis added). In any case, for the reasons set forth in text, Samsung is entitled to
28   JMOL on the deduction of costs regardless of who bore the burden.

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 1 costs) should be deducted from revenues to determine “total profit” under § 289 so long as they

 2 are “attributable” to the sales at issue. Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1447

 3 (Fed. Cir. 1998). The Federal Circuit affirmed a judgment that included such deductions in Nike,

 4 id., and other courts have long applied the same basic rule. For example, in Schnadig Corp. v.

 5 Gaines Manufacturing Co., 620 F.2d 1166 (6th Cir. 1980), the Sixth Circuit allowed a deduction

 6 of two-thirds of the defendant’s fixed costs because they were reasonably “allocable to the

 7 infringing production.” Id. at 1175. More recently in Sunbeam Products, Inc. v. Wing Shing

 8 Products (BVI) Ltd., 311 B.R. 378 (S.D.N.Y. 2004), the court ruled that “portions of fixed costs

 9 are deductible in calculating profit to the extent those portions can be attributed to the infringing

10 product.” Id. at 401. The Federal Circuit affirmed, finding no legal error in such a deduction. 153

11 F. App’x 703 (Fed. Cir. 2005). See also, e.g., Bergstrom v. Sears, Roebuck & Co., 496 F. Supp.

12 476, 497-98 (D. Minn. 1980) (deducting 60% of fixed costs that were reasonably allocated to

13 infringing product). In the similar context of copyright, courts recognize that the party seeking to

14 prove a deduction need only offer a “reasonably acceptable formula,” Frank Music Corp. v.

15 Metro-Goldwyn-Mayer, Inc., 772 F.2d 505, 516 (9th Cir. 1985)—in other words, a “fair, accurate,

16 and practical method of allocating the implicated overhead to the infringement,” Hamil Am. Inc. v.

17 GFI, 193 F.3d 92, 105 (2d Cir. 1999) (cited in Dkt. 2947, at 17).

18             Courts thus recognize that a rule permitting deduction only of variable costs, and not of
19 any operating expenses and fixed costs, would be “economically unrealistic” and contrary to

20 common sense. Bergstrom, 496 F. Supp. 476 at 498. Indeed, “[t]he basic truth [is] that no article

21 of manufacture can be profitable in a real sense if it cannot bear its proportionate share of the fixed

22 costs.” Schnadig, 620 F.2d at 1172 (citing Tremaine v. Hitchcock & Co., 90 U.S. 518, 529

23 (1874)); accord Sunbeam, 311 B.R. at 401 (rejecting “dubious” argument that defendant “should

24 not be allowed to deduct any portion of a fixed cost”); Oracle Am., Inc. v. Google Inc., 2012 WL

25 4017808, *4-5 (N.D. Cal. Apr. 10, 2012) (in copyright case, it would be “certainly unjust [to]

26 giv[e] the plaintiffs everything” by refusing to deduct any operating expenses). Thus, the correct
27 rule of law is that in calculating “total profit” under § 289, operating expenses should be deducted

28 from revenues so long as they are reasonably allocable to the defendant’s infringing sales.

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 1             B.     No Reasonable Jury Could Find That Samsung’s Expenses Were Not
                      Reasonably Allocated To The Infringing Phones
 2

 3             Under this settled standard, Samsung is entitled to JMOL because no reasonable jury could

 4 have failed to find that its operating expenses were reasonably allocable to the infringing sales.

 5             First, Samsung indisputably incurred some $696 million in operating expenses (sales,

 6 marketing, G&A, R&D) in connection with the sale of the infringing products. See Tr. 735:4-11,

 7 736:20-22, 738:6-8 (Davis admissions); see Tr. 906:10-907:12 (Sheppard); Tr. 1031:11-24

 8 (Wagner); Tr. 1046:17-1047:19 (Wagner); Tr. 1152:8-16 (Wagner); Tr. 1155:13-25 (Wagner). Of

 9 these expenses, roughly 44% related to sales and marketing and roughly 32% related to R&D, Tr.

10 770:16-771:6 (Davis admissions), leaving about 24% related to G&A. There was no dispute about

11 any of this at trial, and no contrary evidence was introduced.

12             Second, the data underlying these calculations (DX676) was indisputably reliable. This

13 data was entered into SAP database software on an hourly basis and was subject to both internal

14 Samsung checks and routine outside audits. Tr. 901:20-902:12, 911:2-20 (Sheppard). Apple did

15 not dispute that Samsung’s data was reliable and did not introduce any contrary evidence. In fact,

16 Davis expressly admitted that she had “no information that would suggest that anybody’s been

17 monkeying around” with the data. Tr. 787:10-788:13.

18             Third, no reasonable jury could conclude that these operating expenses were not
19 reasonably allocable to Samsung’s infringing phones. The undisputed evidence showed that

20 Samsung allocated these costs to its products on a monthly basis (Tr. 783:5-8 (Davis); 1037:13-

21 1038:4 (Wagner)) and in the ordinary course of business (Tr. 907:23-908:16 (Sheppard)).

22 Samsung used an allocation methodology that is such a “common practice” among accountants

23 that it is part of the accounting curriculum; indeed, it is the only way that a company like Samsung

24 could calculate its profits on a per-product basis (Tr. 908:17-909:5 (Sheppard)). Samsung’s

25 allocation methodology is “the most common allocation methodology in business” (Tr. 1045:2-22

26 (Wagner)).        Other Samsung entities allocate their expenses in the same way (Tr. 938:8-11
27 (Sheppard)), as do most major, multi-product-line companies (Tr. 1037:13-1038:1 (Wagner); see

28 also 782:12-783:1 (Davis)).

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 1             Moreover, the evidence was unequivocal that Samsung’s operating expenses have a “clear

 2 relationship” to Samsung’s profits (Tr. 1039:22 (Wagner); see Tr. 1035:1):               The operating

 3 expenditures are “necessary to create and sell the product[s]” (Tr. 907:20-22 (Sheppard)), and

 4 without (for example) Samsung’s marketing and sales activities its “phones wouldn’t have been

 5 sold,” Tr. 1034:23-1035:9 (Wagner; marketing); see Tr. 1038:16-1040:12 (Wagner; similar as to

 6 sales expenses). Similarly, Samsung “incurred” its R&D costs “during the period [when] the

 7 [relevant] phones [were] being sold,” and therefore “expensed” them during that period—as is

 8 “required by the accounting standards” to give a “reasonable estimate” of Samsung’s R&D costs

 9 for the phones at issue. Tr. 1040:24-1043:10 (Wagner); see Tr. 1044:6-20 (Wagner; similar for

10 G&A expenses). The evidence thus overwhelmingly shows that Samsung’s relevant operating

11 expenses are deductible because there is a reasonable (and indeed necessary) “connection”

12 between the expenses and Samsung’s sales. See Tr. 1033:13-1034:3, 1176:4-11 (Wagner).

13             Remarkably, none of this was disputed at trial as an evidentiary matter. Apple did not

14 dispute that Samsung’s allocation methodology was reasonable and reliable—neither Davis nor

15 any other witness did so, and indeed Apple could not have done so because it uses the same

16 methodology itself. DX4554; Tr. 776:23-777:2 (Davis); 1045:2-22 (Wagner). Moreover, Davis

17 admitted that Samsung’s data was reliable, Tr. 787:10-788:13, and further admitted that

18 Samsung’s expenses for marketing, sales, and R&D were all related to the sales of Samsung’s
19 phones because it is not possible to produce or sell a smartphone without such costs, Tr. 770:1-15.

20 Apple thus did not contest the deductibility of Samsung’s expenses as a factual matter at all.

21             Instead, Apple sought to confuse the jury as to the law. This Court instructed the jury that

22 costs other than the costs of goods “may be included as deductible expenses if they are directly

23 attributable to the sale or manufacture of the infringing products resulting in a nexus between the

24 infringing products and the expenses.” Tr. 1233:11-15 (emphasis added). Ms. Davis admitted

25 that there need only be “some relationship between the expense and the revenue” for the “nexus”

26 requirement to be met, Tr. 769:20-25, and thus that requirement permits the deduction of allocated
27 costs—in fact, Davis herself deducted some fixed costs that “ha[d] to be allocated” to determine

28 profits. Tr. 777:6-17. But rather than acknowledge that operating expenses are deductible if they

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 1 have a “nexus” to the infringing products, Apple leaned on the words “directly attributable” (see,

 2 e.g., Tr. 734:20-735:15 (Davis)) and urged the jury in closing arguments to disallow Samsung’s

 3 operating expenses simply because they were allocated, rather than product specific, costs. Tr.

 4 1268:18-1269:16 (Apple closing argument). That is wrong as a matter of law because reasonably

 5 allocable expenses must be deducted, as shown above. And on this motion, the Court must “apply

 6 the law as it should be,” even if the jury instructions said (or were characterized by Apple to say)

 7 something different. Fisher, 558 F.3d at 1074.8

 8                 At both prior trials, the juries deducted at least portions of Samsung’s operating expenses.

 9 See Dkt. 1930 (2012 verdict deducting 60% of Samsung’s related operating expenses); Dkt. 2822

10 (2013 verdict deducting 38.6% of Samsung’s related operating expenses)). No reasonable jury

11 could have parted ways with both prior juries to find that none of Samsung’s operating expenses

12 were deductible.            Apple did not dispute that Samsung’s operating-expense allocation was

13 reasonable, and its claim that such expenses are not deductible as a legal matter is simply wrong.

14 The Court should rule that Samsung’s operating expenses are deductible as a matter of law.

15 IV.             SAMSUNG IS ENTITLED TO JMOL ON THE AMOUNT OF DESIGN-PATENT
                   DAMAGES OR AT MINIMUM TO REMITTITUR OR A NEW TRIAL
16
                   A.     The Record Lacks Sufficient Evidence To Support The Damages Verdict
17

18                 As set forth above, Samsung is entitled to JMOL on each of the issues subsidiary to the
19 ultimate calculation of its “total profit” under § 289: a reasonable jury would be constrained to

20 adopt Samsung’s identification of the relevant component AOMs (the glass front face (D’677);

21 glass front face with bezel (D’087); and display screen (D’305)), and to deduct Samsung’s

22 operating expenses. Based on those findings, which the trial record compels, the Court should

23 grant JMOL that Samsung’s “total profit” under § 289 is $28,085,061. Wagner Dec. ¶ 23;

24 DX4537.

25                 In the alternative, if the Court grants JMOL on some issues but not others, the Court

26 should “work[] the math backwards” and enter JMOL as to the total amount of damages in the
27       Notably, Davis admitted that “directly attributable” is not a term used in generally accepted
               8

   accounting principles and she had not previously applied that standard. Tr. 768:24-769:13; 780:8-
28 14.

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 1 amount yielded by the following flowcharts. Lucent, 580 F.3d at 1336-38. The citations are to the

 2 Wagner Declaration, submitted herewith, which details the calculations.9

 3 D’305 AOM                  D’677 AOM          D’087 AOM         Operating Expenses      Total Profit
 4                                                                                       $28,085,061 (¶23)
                                                                        Deductible
                                                                                        (Samsung's Position)
 5                                              Glass Front Face
                                                   With Bezel
                                                                           Not
 6                                                                                      $110,773,605 (¶25)
                                                                        Deductible
                              Glass Front
 7                               Face
                                                                        Deductible       $48,610,016 (¶24)
 8                                                Entire Phone
                                                                           Not
 9                                                                                      $156,166,766 (¶26)
                                                                        Deductible
               Display
10             Screen
                                                                        Deductible      $100,740,919 (¶23)
                                                Glass Front Face
11
                                                   With Bezel
                                                                           Not
                                                                                        $286,114,916 (¶25)
12                                                                      Deductible
                                Display
                               Assembly
13                                                                      Deductible      $121,223,193 (¶24)
14                                                Entire Phone
                                                                           Not
                                                                                        $332,036,436 (¶26)
15                                                                      Deductible

16             D’305 AOM                  D’677 AOM              Operating Expenses          Total Profit
17
                                                                     Deductible           $80,206,471 (¶23)
18
                                       Glass Front Face
19                                                                  Not Deductible       $358,197,120 (¶25)
20             Entire Phone
                                                                     Deductible          $152,722,530 (¶23)
21
                                      Display Assembly
22                                                                                           $533,316,607
                                                                    Not Deductible
                                                                                            (Jury's Verdict)
23

24                 B.     The Court Should At Minimum Grant A New Trial And/Or Remittitur
25                 If the Court does not grant JMOL, it should at minimum order a new trial under Fed. R.
26        If the D’305 design were applied to Samsung’s entire phones, no additional award would be
               9

   permitted for infringement of the D’087 patent (since all phones that infringed the D’087 patent
27 also infringed the D’305 patent). Conversely, if the D’087 design were applied to Samsung’s
   entire phones, then no additional award based on the D’305 patent would be permitted for units
28 found to infringe the D’087 patent. See supra, at 2.

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 1 Civ. P. 59. Such relief is warranted where (inter alia) “‘the verdict is against the weight of the

 2 evidence, [or] the damages are excessive,’” Molski v. M.J. Cable, Inc., 481 F.3d 724, 729 (9th Cir.

 3 2007), or where necessary to prevent a “miscarriage of justice,” Rattray v. City of National City,

 4 51 F.3d 793, 800 (9th Cir. 1994). The Court “is not required to view the trial evidence in the light

 5 most favorable to the verdict,” and “can weigh the evidence and assess the credibility of the

 6 witnesses.” Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd, 762 F.3d 829, 842 (9th Cir.

 7 2014).       A new trial may be conditioned on remittitur of damages to the maximum amount

 8 sustainable by the evidence. See Oracle Corp. v. SAP AG, 765 F.3d 1081, 1085 (9th Cir. 2014).

 9             Here, even if the $533 million design-patent verdict were supported by substantial

10 evidence (it is not), the award is excessive and against the weight of the evidence for the reasons

11 above. The weight of the evidence is against the jury’s findings regarding the identities of the

12 relevant AOMs. And even accepting those findings arguendo, the jury’s irrational failure to

13 deduct any of Samsung’s operating expenses inflated the amount of the damages award by some

14 $380.6 million—accounting for more than 71% of the verdict (see Wagner Decl. ¶ 22). This is a

15 textbook case of excessive damages, and the Court should therefore grant a new trial. See, e.g.,

16 Molski, 481 F.3d at 732 (reversing denial of new trial where “undisputed testimony” showed that

17 verdict “was against the clear weight of the evidence”); Whitserve, LLC v. Computer Packages,

18 Inc., 694 F.3d 10, 33 (Fed. Cir. 2012) (reversing denial of new trial where damages award was
19 “out of line with economic reality”); Wordtech Sys., Inc v. Integrated Networks Sols., Inc., 609

20 F.3d 1308, 1322 (Fed. Cir. 2010) (reversing denial of new trial in absence of a “plausible

21 explanation[] for the verdict”). The new trial may be conditioned on remittitur to the maximum

22 amount supported by the evidence. See Part IV.A, supra.

23                                             CONCLUSION
24             The Court should grant the motion and enter JMOL as set forth above. In the alternative,

25 the Court should order a new trial, which may be conditioned upon an appropriate remittitur.

26
27

28

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 1 DATED: June 7, 2018               Respectfully submitted,

 2                                   QUINN EMANUEL URQUHART &
                                     SULLIVAN, LLP
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 4
                                    By /s/ Victoria F. Maroulis
 5                                    John B. Quinn
                                      Kathleen M. Sullivan
 6                                    William C. Price
                                      Michael T. Zeller
 7                                    Kevin P.B. Johnson
                                      Victoria F. Maroulis
 8

 9                                     Attorneys for SAMSUNG ELECTRONICS CO.,
                                       LTD., SAMSUNG ELECTRONICS AMERICA,
10                                     INC., and SAMSUNG TELECOMMUNICATIONS
                                       AMERICA, LLC
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